8:13-cr-00058-RFR-MDN       Doc # 115     Filed: 04/14/14    Page 1 of 2 - Page ID # 348




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )               CASE NO. 8:13CR58
                                            )
             Plaintiff,                     )
                                            )
             vs.                            )              TENTATIVE FINDINGS
                                            )
MICHELLE C. CHRISTIANSEN,                   )
                                            )
             Defendant.                     )

      The Court has received the Presentence Investigation Report and Addendum

(“PSR”), and the government’s objection to Paragraph 29 (Filing No. 106). The Defendant

has filed a Motion for Departure and Variance and a supporting brief (Filing Nos. 112 and

113). Defense counsel expressed objections to the Probation Office with regards to the

PSR and such objections were addressed in the PSR Addendum. Defense counsel did not

pursue these objections pursuant to the Order on Sentencing Schedule, ¶ 6 (Filing No. 96)

and the Text Order (Filing No. 111). The Court advises the parties that these Tentative

Findings are issued with the understanding that, pursuant to United States v. Booker, 543

U.S. 220 (2005), the sentencing guidelines are advisory.

      Accordingly,

      IT IS ORDERED:

      1.     The government’s Objection to Presentence Investigation Report (Filing No.

106) will be heard at the sentencing hearing, and the Court intends to adopt the parties’

plea agreement;

      2.     The Court intends to adopt the PSR in all other respects;

      3.     If any party wishes to challenge these tentative findings, the party shall

immediately file in the court file and serve upon opposing counsel and the Court a motion
8:13-cr-00058-RFR-MDN         Doc # 115      Filed: 04/14/14   Page 2 of 2 - Page ID # 349




challenging these tentative findings, supported by (a) such evidentiary materials as are

required (giving due regard to the requirements of the local rules of practice respecting the

submission of evidentiary materials), (b) a brief as to the law, and (c) if an evidentiary

hearing is requested, a statement describing why an evidentiary hearing is necessary and

an estimated length of time for the hearing;

       4.     Absent submission of the information required by paragraph 3 of this Order,

these tentative findings are final;

       5.     The Defendant’s Motion for Departure and Variance (Filing No. 112) will be

heard at sentencing; and

       6.     Unless otherwise ordered, any motion challenging these tentative findings

shall be resolved at sentencing.

       DATED this 14th day of April, 2014.

                                          BY THE COURT:


                                          s/Laurie Smith Camp
                                          Chief United States District Judge




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